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  DOWD, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

  United States of America,                        )
                                                   )     CASE NO. 1:07 CR 338
                 Plaintiff,                        )
                                                   )
         v.                                        )     MEMORANDUM OPINION
                                                   )
  Shaneka Pittman,                                 )
                                                   )
                 Defendant.                        )
                                                   )

         The defendant was found guilty following a jury trial of count 1 charging a violation of

  21 U.S.C. § 846, conspiracy to possess with the intent to distribute cocaine and PCP; a violation

  of 21 U.S.C. § 841(a)(1)and (b)(1)(A), possession with the intent to distribute cocaine and count

  23 charging a violation of 21 U.S.C. § 843(b), unlawful use of a communication facility to

  facilitate the commission of a drug trafficking offense.

         The Court ordered a presentence report. Counsel for the defendant has filed with the

  Probation Department a series of objections as follows:

                                           Objection No. 1

                 The defendant objects to paragraph 26 of the Pre-Sentence Report
                 describing the offense conduct and which states that the defendant,
                 Shaneka Pittman enlisted couriers to transport cocaine, PCP and
                 marijuana into the Cleveland area for distribution. The wire
                 conversation referenced does not support this allegation contained
                 in this paragraph.

         Paragraph 26 of the presentence report declares:
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                  As a result of the investigation, on May 5, 2007, a telephone
                  wiretap was initiated. Arkeefe Sherrills was identified as the head
                  of the conspiracy, who, aided by his wife, SHANEKA
                  PITTMAN/SHERRILLS and Richard White enlisted multiple
                  couriers to transport cocaine, PCP, and marijuana into the
                  Cleveland area for distribution. The main Cleveland based
                  distributee was identified as Derrick Wade.

                                          The Court’s Ruling

         Whether the wire conversation supports the allegation is not material. The testimony of

  co-defendants Cynthia Johnson, Alicia Bryant, Canie Gibson, Marlene Brown, Janice Johnson

  and Jarese Pannell supported the proposition that the defendant enlisted couriers to transport

  cocaine into Cleveland for distribution. The objection is denied.

                                            Objection No. 2

                  The defendant further challenges the contents of paragraph 33 of
                  the Pre-Sentence Report which alleges that Shaneka Pittman hired
                  couriers and ran the drug business while he (Arkeefe Sherrills) was
                  incarcerated in California and Ohio. The testimony adduced in
                  trial never supports this allegation.

         Paragraph 33 of the presentence report declares:

                  The trial established that starting in 2004, Arkeefe Sherrills and
                  SHANEKA PITTMAN began to bodycarry kilos of cocaine by
                  putting it between their legs and securing it with a girdle. They got
                  to a point in time where they were successful enough that they
                  began to hire others to carry the drugs since that was the most
                  dangerous time. When Arkeefe Sherrills was jailed in California
                  and Ohio, SHANEKA PITTMAN kept the conspiracy going.

                                          The Court’s Ruling

         The testimony of the cooperating co-defendant couriers supports the proposition that

  Shaneka Pittman continued with the drug conspiracy while the defendant Arkeefe Sherrills was



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  incarcerated.

                                            Objection No. 3

                  The defendant further challenges the allegations contained in
                  paragraph 36 of the Pre-Sentence Investigation Report that said
                  that the kilos were provided to them (couriers) by Richard White
                  who then delivered them to Shaneka Pittman. It is our specific
                  contention that the kilos of cocaine provided to the couriers were
                  never delivered to Shaneka Pittman.

         Paragraph 36 of the presentence report declares:

                  On October 5, 2006, couriers Canie Gibson and John Hawkins
                  were surveilled after landing in Cleveland. They were picked up
                  by SHANEKA PITTMAN and driven to a downtown hotel.
                  According to testimony, the kilos were provided to the couriers by
                  co-conspirators Richard White usually and were delivered to either
                  Arkeefe Sherrills, SHANEKA PITTMAN, or Derrick Wade.

                                          The Court’s Ruling

         The issue of whether the kilos of cocaine were delivered directly to the defendant

  Shaneka Pittman, by the conduct of the couriers, is not relevant in that the overwhelming

  testimony of the co-defendants during the trial of the defendant clearly indicated that the

  defendant Shaneka Pittman played a major role in the conspiracy which included using female

  couriers to transport and deliver cocaine to the major players in the conspiracy including

  Sherrills, Richard White and Derrick Wade.

                                            Objection No. 4

                  The defendant further objects to paragraph 37 which alleges that
                  Shaneka Pittman provided the kilograms to the couriers on October
                  10, 2006. It is non-sensical [sic] to conclude that the couriers who
                  left Detroit on the 8th of October without drugs and/or money did
                  not get any drugs or money out west from Richard White or
                  Arkeefe Sherrills. The evidence adduced in trial undoubtedly

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                  showed that the couriers involved in this conspiracy were supplied
                  with drugs in California or Las Vegas and transported the drugs to
                  Cleveland. The evidence further showed that monies would be
                  transported to California to purchase the cocaine.

         Paragraph 37 of the presentence report declares:

                  On October 10, 2006, four couriers who had been driven to Detroit
                  on October 8, 2006, were picked up in Detroit by SHANEKA
                  PITTMAN and when their vehicle was stopped, approximately six
                  kilograms of cocaine were recovered. Two of the couriers testified
                  and advised that SHANEKA PITTMAN had provided the
                  kilograms of cocaine to them after they were picked up in Detroit.
                  SHANEKA PITTMAN presented an Ohio drivers license in the
                  name of Alexis Price (Alexis Price is a 9 year old daughter of
                  SHANEKA PITTMAN)

                                     The Government’s Response

         Counsel for the government have responded to the defendant’s objection with the

  following summary of the testimony:

                  Defendant Pittman’s objection is not supported by the trial
                  testimony from two of the couriers who were involved in this
                  incident. While this activity was somewhat inconsistent with the
                  drug conspiracy’s typical modus operandi, the description above is
                  directly supported by trial testimony from both Jarese Pannell and
                  Aleshia Bryant. Jarese Pannell testified that she thought it was
                  “unusual” that she did not carry anything on the trip from Las
                  Vegas back to Detroit, but she also testified that she “never asked
                  too many questions.” (Testimony of Jarese Pannell, Trial Tr. at
                  511, 509). When she and the other three couriers returned back to
                  the airport in Detroit from Las Vegas, they were met by Shaneka
                  Pittman who gave them gray duct-tape wrapped packages to carry.
                  (Id. at 511-13). Pannell’s testimony was entirely consistent with
                  that of Aleshia Bryant. (testimony of Aleshia Bryant, Trial Tr. at
                  575-76).

                                          The Court’s Ruling

         The defendant’s objection to paragraph 37 is denied.

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                                             Objection No. 5

                  Defendant objects to the allegations contained in paragraph 38 of
                  the Pre-Sentence Investigation Report regarding her conduct of
                  having packages delivered to her, or providing money to the
                  couriers on the January 18th trip and other trips as well.

         Paragraph 38 of the presentence report declares:

                  On January 18, 2007, three couriers were stopped after landing in
                  Columbus and being picked up by co-conspirator Donald Littleton.
                  Each courier had approximately a kilogram of cocaine between
                  their legs inside a girdle. They identified Arkeefe Sherrills, and
                  SHANEKA PITTMAN as the people they had received packages
                  of cocaine from or had given money packages to on this and other
                  trips.

                                      The Government’s Response

         The government’s response to the defendant’s objection to paragraph 38 is set forth as

  follows:

                  ...While the couriers involved in the January 2007 trip did not
                  testify that they interacted with her on that particular trip, their
                  testimony showed Defendant Pittman’s involvement with those
                  couriers at other times during the time of the conspiracy.

                  Two of the couriers form the January 18th trip, Marlene Brown and
                  Janice Johnson, testified at trial. Marlene Brown was a courier
                  who testified that when she joined this conspiracy, her first trip
                  was from the Cleveland area to Las Vegas. While in Las Vegas,
                  she and another courier were met at the hotel by “Duke” and his
                  wife, who she identified as Defendant Shaneka Pittman.
                  (Testimony of Marlene Brown, Trial Tr. at 650-53). Defendant
                  Pittman told Brown what she would have to do and took her
                  shopping for a girdle and clothing. (Id. at 651). Defendant
                  Pittman told Brown, “how we supposed to walk like, you know,
                  like paying attention to each other, and like just -- you know what I
                  am saying, like the drugs we were carrying, I didn’t know what I
                  was supposed to do, so she kind of had to like instruct us how to
                  wear it, how to walk, just everything.” (Id. at 652). Later,

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                  Defendant Pittman and Sherrills, “told us how to put [the drugs]
                  on, meaning between our legs, you know, inside the girdle. Make
                  sure our skirts was long enough and they were okay. Boots, shirts,
                  everything, and we kind of walked to make sure we were
                  comfortable with it and that was like pretty much it. You know,
                  me and Janaye both tried it on and that was it.” (Id. at 653-54).

                  Similarly, Janice Johnson testified that she met the defendants on a
                  trip to Las Vegas. (Testimony of Janice Johnson, Trial tr. at 717-
                  18). Just like Marlene Brown, Janice Johnson testified that she
                  was told what to do and was taken shopping for a girdle and long
                  skirt by Defendant Pittman. (Id. at 719-20). Johnson became
                  nervous about her involvement and told the defendants that she
                  was not willing to carry the packages of cocaine back. Despite
                  Johnson’s reluctance, the defendants still had her try on a package
                  of cocaine while wearing the girdle and skirt. (Id. at 721-22).
                  Shaneka Pittman and Sherrills had a bag with the packages of
                  cocaine, and Johnson specifically recalled Pittman wearing gloves
                  when she handed her the brick of cocaine to try on. (Id. at 722-
                  24).

                                          The Court’s Ruling

         The government’s response accurately summarizes the testimony. The defendant’s

  objection is denied.

                                            Objection No. 6

                  Defendant specifically objects to paragraph 39 which states that
                  she stayed in the apartment that was above Anthony Harris’
                  business.

         Paragraph 39 of the presentence report declares:

                  Wiretaps and phone calls revealed that Arkeefe Sherrills rented an
                  apartment from Anthony Harris. When arrests and searches were
                  done on May 18, 2007, a loaded handgun was found in this
                  apartment as well as a number of papers which clearly established
                  that Arkeefe Sherrills and SHANEKA PITTMAN stayed there.




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                                          The Court’s Ruling

         Anthony Harris testified as the government’s witness. His testimony supports the

  contention that Shaneka Pittman stayed in the Harris apartment. (See Harris testimony at page

  938, 998-99.) The objection is overruled.

                                            Objection No. 7

                  Defendant specifically objects to paragraph 46 of the Pre-Sentence
                  Investigation Report that claims the defendant’s criminal activity
                  involved at least 50 kilograms but less than 150 kilograms of
                  cocaine, and 5 kilograms of PCP, and thus calculation and the
                  conversion numbers are not correct.

         Paragraph 46 of the presentence report declares:

                  Base Offense Level: The United States Sentencing Commission
                  Guideline for violation of 21 U.S.C. § 841(b)(1)(A) and 846 is
                  found in U.S.S.G. § 2D1.1. According to the Offense Conduct
                  section, this defendant’s criminal activity involved at least 50
                  kilograms but less than 150 kilograms of cocaine, and 7 kilograms
                  of PCP. Using the marijuana equivalency tables, 50 to 150
                  kilograms of cocaine equates to 10,000 to 30,000 kilograms of
                  marijuana (1 gram of cocaine = 200 grams of marijuana) and 7
                  kilograms of PCP equates to 7,000 kilograms of marijuana (1 gram
                  PCP = 1 kilogram of marijuana). Therefore, the total amount of
                  cocaine and PCP converted to marijuana is between 17,000 to
                  37,000 kilograms of marijuana. The offense level specified in the
                  Drug Quantity Table under U.S.S.G. § 2D1.1(c)(2), sets a Base
                  Offense Level of 36 (10,000 to less than 30,000 kilograms of
                  marijuana) or 38 (30,000 or more kilograms of marijuana).

                                     The Government’s Response

         Once again, it is necessary to review the testimony presented by the government during

  the lengthy trial as it relates to the weight of the cocaine and PCP attributable to the defendant

  under the teachings of U.S.S.G. § 1B1.3(a)(1)(A) and in particular the teachings of the recent



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  decision in United States v. Gonzalez, 501 F.3d 360 (6th Cir. 2007). The Court recognizes that it

  must make two particularized findings with respect to the quantity of drugs attributable to the

  defendant, i.e., “(1) that the acts were within the scope of the defendant’s agreement and (2) that

  they were foreseeable to the defendant as set forth in United States v. Campbell, 279 F.3d 392,

  400 (6th Cir. 2002).

         Applying the Campbell analysis, the government’s sentencing memorandum (Docket No.

  533 at pages 34 through 39, attached hereto at Appendix I) adequately reflects that the offense

  level is to be calculated at 36. Specifically, the Court finds that the acts described in the

  government’s sentencing memorandum were within the scope of the defendant Shaneka

  Pittman’s agreement and that the acts giving rise to the significant quantity of drugs attributable

  to Shaneka Pittman were reasonably foreseeable to her.

                                           The Court’s Ruling

         The Court agrees with the government’s analysis and finds that the base offense level is

  36.

                                            Objection No. 8

                  The defendant specifically objects to paragraph 47 of the Pre-
                  Sentence Investigation Report that Shaneka Pittman possessed a
                  firearm.

         Paragraph 47 of the presentence report declares:

                  Specific Offense Characteristic: Pursuant to § 2D1.1(b)(1), if a
                  dangerous weapon (including a firearm) was possessed, increase
                  by 2 levels.

                                           The Court’s Ruling



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         There is no direct evidence that Shaneka Pittman possessed the dangerous weapon, either

  at her residence in California at the apartment above the Popular Demand. The defendant’s

  objection is granted.

                                           Objection No. 9

                  Defendant specifically objects to paragraph 49 of the Pre-Sentence
                  Investigation Report in that the defendant was a manager or
                  supervisor of five or more participants in this alleged conspiracy.

         Paragraph 49 of the presentence report declares:

                  Adjustment for role in the Offense: Pursuant to U.S.S.G. §
                  3B1.1(b), the offense level is increased by three. The defendant
                  was a manager or supervisor of five or more participants in this
                  offense.

                                          The Court’s Ruling

         The government has identified four couriers supervised by the defendant Shaneka

  Pittman. The Court concludes that only two levels should be added for the defendant’s role in

  the offense and under the provisions of U.S.S.G. § 3B1.1(c) finding that the defendant was an

  organizer and supervisor.

                                           Objection No. 10

                  Defendant further objects to paragraphs 51, 53 and 55 of the Pre-
                  Sentence Investigation Report that claims the defendant’s adjusted
                  offense is either 41 or 43. It is our specific contention that the
                  defendant’s offense level should start at a level 32.

         Paragraphs 51, 53 and 55 of the presentence report declare:

                  Adjusted Offense Level (Subtotal):                   41 or 43

                  Adjusted Offense Level:                              41 or 43



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                   Total Offense Level:                    41 or 43




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                                             The Court’s Ruling

           The Court finds that the base offense level is 36 and two levels are added for role in the

   offense for a total of 38 as the total offense level.

                                              Objection No. 11

                   Defendant specifically objects to paragraphs 59 and 60 of the Pre-
                   Sentence Investigation Report, since it is our contention that the
                   Defendant [sic] participation in the alleged drug conspiracy did not
                   occur within two years from the Defendant’s release from custody.

           Paragraphs 59 and 60 of the presentence investigation report declare:

                   The instant offense was committed less than two years following
                   the defendant’s release from custody on March 24, 2003 from the
                   sentence of Unauthorized Use of ID. Pursuant to U.S.S.G. §
                   4A1.1(e), two points are added.

                   The total of the criminal history points is 5. According to the
                   Sentencing Table in U.S.S.G. Chapter 5, Part A, 5 criminal history
                   points correspond to Criminal History Category III.

                                             The Court’s Ruling

           The Court finds that the flight records from Southwest Airlines demonstrates that the

   defendant traveled more than a dozen times between California and Cleveland from May, 2004

   through March 16, 2005. Consequently, the Court finds that the defendant’s criminal history is

   III. The defendant has a single conviction in California for what is referred to as the

   unauthorized use of a personal I.D. She received three points for that conviction. (The court sua




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   sponte, on defendant’s motion) determined that the criminal history category III overstated the

   seriousness of the defendant’s criminal record and departed downward one level to criminal

   history II which calls for a sentencing range of 262 to 327 months.)



          IT IS SO ORDERED.



    July 30 , 2008                                /s/ David D. Dowd, Jr.
   Date                                         David D. Dowd, Jr.
                                                U.S. District Judge




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